Case 1:19-cv-00002-MSM-LDA Document1 Filed 01/02/19 Page 1 of 11 PagelD #: 1

UNITED STATES DISTRICT COURT
DISTRICT OF RHODE ISLAND

POPEeEPeee TOOT eTTTee OPEC rrrrrrrrrrrrrrrris teri errrrrirititir errr)

R. Alexander Acosta, Secretary of Labor,
United States Department of Labor,

Plaintiff, ,
Civil Action No.

Vv.
NORTH PROVIDENCE PRIMARY CARE — :
ASSOCIATES INC., NORTH PROVIDENCE
URGENT CARE, INC., CENTER OF NEW
ENGLAND PRIMARY CARE, INC.,
CENTER OF NEW ENGLAND URGENT
CARE, INC. , Dr. ANTHONY FARINA, JR.,
AND BRENDA DELSIGNORE,

Defendants.

NUR ENOTES OOH E DEES DRO R RRR E ORM EESEERESSESS PORTER RARE EEESOT ER ORUR ERE EERSSEEOBORER RSS

COMPLAINT
Plaintiff, Secretary of Labor, United States Department of Labor, brings this action to
enjoin Defendants from violating the provisions of Sections 7, 11, 15(a)(2), and 15(a)(5) of the
Fair Labor Standards Act of 1938 (the “Act”), 29 U.S.C. §§216, 217, 211, 215(a)(2), and
215(a)(5), and to recover unpaid wages and liquidated damages pursuant to the provisions of |

Sections 15(a)(2) and 16(c) of the Act, 29 U.S.C. §§ 215(a)(2), 216(c).
I

Jurisdiction of this action is conferred upon this Court by Section 17 of the Act, 29

U.S.C. § 217, and by 28 U.S.C. § 1345.

 
Case 1:19-cv-00002-MSM-LDA Document1 Filed 01/02/19 Page 2 of 11 PagelD #: 2

U
Defendant NORTH PROVIDENCE PRIMARY CARE ASSOCIATES, INC. (“NPPC”),
is, and at all times hereinafter mentioned was, a corporation having an office and place of
business located at 180 Mineral Spring Avenue, Providence, RI, within the jurisdiction of this
Court, and is now, and at all times hereinafter mentioned was, engaged at that place of business
and elsewhere in the operation of a primary care medical office.
Ill
Defendant NORTH PROVIDENCE URGENT CARE, INC. (“NPUC”), is, and at all
times hereinafter mentioned was, a corporation having an office and place of business located at
180 Mineral Spring Avenue, Providence, RI, within the jurisdiction of this Court, and is now,
and at all times hereinafter mentioned was, engaged at that place of business and elsewhere in
the operation of an urgent care medical office.
IV
Defendant CENTER OF NE PRIMARY CARE, INC. (“CNEPC”), is, and at all times
hereinafter mentioned was, a corporation having an office and place of business located at 775
Center of New England Blvd, West Greenwich, RI, within the jurisdiction of this Court, and is
now, and at all times hereinafter mentioned was, engaged at that place of business and elsewhere

in the operation of a primary care medical office.

Vy
Defendant CENTER OF NE URGENT CARE, INC. (“CNEUC”), is, and at all times
hereinafter mentioned was, a corporation having an office and place of business located at 775

Center of New England Blvd, West Greenwich, RI, within the jurisdiction of this Court, and is

 
Case 1:19-cv-00002-MSM-LDA Document1 Filed 01/02/19 Page 3 of 11 PagelD #: 3

now, and at all times hereinafter mentioned was, engaged at that place of business and elsewhere
in the operation of an urgent care medical office.
VI

Defendant DR. ANTHONY FARINA (“FARINA”) resides at 193 Central Avenue,
Johnston, RI, within the jurisdiction of this Court, and is now, and at all times hereinafter
mentioned was, president of all four defendant corporations, and as such actively directs the
business affairs and operations of said business, including establishing company policy related to
both operations and human relations/pay practices for all four corporations. Defendant Farina
hires and fires employees for all four companies. Defendant Farina has acted at all times material
herein directly and indirectly in the interest of the four Defendant corporations in relation to their
employees and was and is, therefore, an employer of said employees within the meaning of
Section 3(d) of the Act, 29 U.S.C. § 203(d).

| vil

Defendant BRENDA DELSIGNORE (“DELSIGNORE”) resides at 1 Winika Ct.,
Johnston, RI, within the jurisdiction of this Court, and is now, and at all times hereinafter
mentioned was, Practice Manager of all four defendant corporations, and as such actively directs
the business affairs and operations of said business, including determining rates of pay, and
reviewing and approving time card detail in all four corporations. Delsignore developed and
enforced employee payment policies such as the policy that thirty minutes for lunch would be
deducted from all employees’ time records, regardless of whether an employee took lunch.
Defendant Delsignore hires and fires employees for all four companies. Defendant Delsignore

has acted at all times material herein directly and indirectly in the interest of the four Defendant

 
Case 1:19-cv-00002-MSM-LDA Document1 Filed 01/02/19 Page 4 of 11 PagelD #: 4

corporations in relation to their employees and was and is, therefore, an employer of said
employees within the meaning of Section 3(d) of the Act, 29 U.S.C. § 203(d).
| Vill

Defendants NPPC, NPUC, CNEPC, CNEUC, Farina and Delsignore are, and at all times
hereinafter mentioned were, engaged in related activities performed through unified operation or
common control for a common business. The Defendant corporations are engaged in the related
activities of operating primary care and urgent care medical offices. The entities are located at
two Rhode Island addresses; one in North Providence, and one in West Greenwich, each
consisting of an urgent care walk-in clinic on the ground floor and a primary care practice on the
second floor. The four Defendant corporations are commonly owned and operated with
Defendant Farina as President, and Defendant Delsignore as Operations Manager of all four
corporations and entities. Defendants Farina and Delsignore establish company policy and
Defendant Delsignore handles the billing for each facility operated under the four corporate
Defendants. A number of employees, including doctors, medical secretaries, EMT’s and X-ray
Technicians are shared by the four entities. The four entities also share a general manager, who
processes payroll for all four entities, which is approved by Defendant Delsignore before being
sent to ADP Payroll. They are, and at all times hereinafter mentioned were, an enterprise within
the meaning of Section 3(r) of the Act, 29 U.S.C. § 203(r).

Ix

At all times hereinafter mentioned, Defendants NPPC, NPUC, CNEPC, CNEUC, Farina

and Delsignore employed employees, in the activities of said enterprise, which is engaged in

commerce or in the production of goods for commerce, including employees handling, selling, or

 
Case 1:19-cv-00002-MSM-LDA Document1 Filed 01/02/19 Page 5 of 11 PagelID #: 5

otherwise working on goods or materials that have been moved in or produced for commerce,
such as receiving and using medical supplies from Henry Schein Medical Supplies in New York.
In addition, the front office employees handle transmissions by phone, mail and computer that
cross state lines. Said enterprise, at all times hereinafter mentioned, has had an annual gross
volume of sales made or business done in an amount not less than $500,000.00 (exclusive of
excise taxes at the retail level that are separately stated). Therefore, said employees have been
employed in an enterprise engaged in commerce or in the production of goods for commerce
within the meaning of Section 3(s) of the Act, 29 U.S.C. § 203(s).
x

Defendants have willfully and repeatedly violated and are violating the provisions of
Sections 7 and 15(a)(2) of the Act, 29 U.S.C. §§ 207 and 215(a), by employing and failing to
properly compensate approximately one hundred and three (1 03) employees, including Medical
Secretaries, Receptionists, X-Ray Technicians, Medical Assistants, EMT’s and a bookkeeper,
working at one or more of the entities. These employees, between the period of July 20, 2015
and the present, worked for workweeks longer than forty (40) hours, and received compensation
from Defendants for their employment in excess of forty (40) hours in said workweeks at rates
less than one and one-half times the regular rate at which they were compensated. Such
overtime violations include the following:

1. Defendants, throughout the period from approximately July 20, 2015 to the
present, paid straight time for all hours worked, including hours worked over forty
(40) in a work week, to approximately forty-six (46) employees. An example of

this occurred on of about the week ending January 8, 2016, at North Providence

 
Case 1:19-cv-00002-MSM-LDA Document1 Filed 01/02/19 Page 6 of 11 PagelD #: 6

Primary Care when an hourly employee worked approximately 66 hours that
week and was paid straight time at $11 per hour for all hours worked. Another
example of this occurred on or about the week ending November 13, 2016 at
Central New England Urgent Care when an hourly EMT worked approximately
48 hours and was paid straight time at $12 per hour for all hours worked. A third
example of this occurred between approximately September 5, 2016 and
September 11, 2016 at North Providence Urgent Care when an hourly nurse
practitioner was paid straight time for 42.75 hours per week. The defendants
produced time keeping documents which stated the employee worked 42.75
hours. Payroll documents submitted by defendants for that same work week for
that same employee show that the employee was paid for forty hours at $25.00
per hour and an additional $68.75 under the category “Other” on the payroll
document. The $68.75 is the straight time amount for 2.75 hours at $25.00 per
hour for that employee.

1. The Defendants, throughout the period from approximately July 20, 2015 to the
present, deducted thirty minutes from the time cards of the majority of hourly
employees for lunch, regardless of whether employees were able to take a lunch
break free from work, resulting in approximately eighty-three (83) employees not
being compensated for all of their hours worked, or being paid time and one half
their regular rate in overtime weeks. The investigation revealed that for the
majority of days worked, employees were unable to take a half hour lunch

uninterrupted. An example of this occurred on or about the week ending January

 
Case 1:19-cv-00002-MSM-LDA Document1 Filed 01/02/19 Page 7 of 11 PagelD #: 7

15, 2016, when an hourly employee, working as a medical assistant at Central
New England Primary Care, worked approximately 46.25 hours and was not paid
her regular rate of $12.50 per hour or time and one half for 2.5 hours of deducted
lunch time that week. That employee was also paid straight time only for the
other 3.75 hours over 40 per week that she worked that week.

2. The Defendants, throughout the period from approximately July 20, 2015 to the
present, did not combine hours worked by employees working at more than one
location in one work week for overtime purposes, resulting in approximately
twelve (12) employees not being paid time and one half their regular rate in
overtime weeks. An example of this occurred on or about the week ending
December 18, 2016 when an hourly employee working as an EMT, worked 25.5
hours at Center of New England Urgent Care and 26.75 hours at North
Providence Urgent Care and was paid two checks at the straight time rate of
$15.00 per hour, with no overtime premium payment for the combined hours over
40 per week.

3. The Defendants, throughout the period from approximately July 20, 2015 to the
present, misclassified approximately thirteen (13) employees as exempt such as
approximately three (3) X-Ray Technicians, two (2) Medical Assistants, a Book
keeper, a Scheduler, four (4) Medical Secretaries, a front desk Receptionist, and
an Accounts Payroll employee. The Medical Secretaries had similar duties, such
as checking patients in and out, filling out information sheets, entering data into

the computer, printing paperwork for patients, taking copays, answering phone

 
Case 1:19-cv-00002-MSM-LDA Document1 Filed 01/02/19 Page 8 of 11 PagelD #: 8

calls, emptying trash and vacuuming. The Receptionist’s duties similarly
included checking patients in and out, making folders, replenishing supplies for
the front office, answering phone calls, booking appointments, filing, faxing
typing letters, emptying trash and vacuuming. The Scheduler’s duties included
pulling charts, checking patients in, answering phones, making referrals, checking
and verifying insurance. The Medical Assistant’s duties included bringing
patients into exam rooms, weighing patients, taking patients’ blood pressure,
requesting records for other medical providers, faxing in prescriptions for
patients, cleaning and sweeping at the end ofa shift. X-Ray Technicians’ duties
included performed diagnostic imaging, and helping with laundry, filing and
cleaning. The Bookkeeper’s duties included recording the payables and
receivables, paying the bills and negotiating payment plans with current vendors.
The Accounts Payroll employee’s duties included accounting functions such as
accounts payable, and payroll. Such employees worked a range of hours, between
approximately 42 and 60 hours per week and were not paid overtime premiums
for hours worked over 40 per week. An example of this occurred between
approximately July 20, 2015 and September 27, 2015 when a nonexempt salaried
employee, working as a Scheduler at the North Providence Primary Care, worked
approximately between 45 and 50 hours per week and was not paid overtime
premiums for any hours over 40 per week. Another example of this occurred

between approximately July 20, 2015 and November 29, 2015, when a Medical

 
Case 1:19-cv-00002-MSM-LDA Document1 Filed 01/02/19 Page 9 of 11 PagelD #: 9

Secretary worked approximately 55 hours per week and was not paid overtime
premiums for any hours over 40 per week.
XI
Defendants have willfully and repeatedly violated and are violating the provisions of

Sections 11(c) and 15(a)(5) of the Act, 29 U.S.C. §§ 211(c) and 215(a)(5), in that they failed to
make, keep, and preserve adequate and accurate records of employees’ wages, hours, and other
conditions and practices of employment, as prescribed by regulations duly issued pursuant to
authority granted in the Act and found in Title 29, Part 516 of the Code of Federal Regulations.
Such recordkeeping violations include the following:

2. Defendants, throughout the period from approximately July 20, 2015 to the
present, did not keep accurate records for hourly employee by deducting a half
hour per day for lunch for the majority of hourly employees, regardless of
whether an employee was free from work during that half hour per day. The
investigation revealed that for the majority of days worked, employees were
unable to take a half hour lunch uninterrupted.

3. Defendants, throughout the period from approximately July 20, 2015 to the
present, failed to keep and produce to the Secretary any time records for
approximately twelve (12) employees they had misclassified as exempt salaried
employees such as X-Ray Technicians, Medical Assistants, a Book keeper, a
Scheduler, four (4) Medical Secretaries, a front desk Receptionist, and an

Accounts Payable employee.

 
Case 1:19-cv-00002-MSM-LDA Document1 Filed 01/02/19 Page 10 of 11 PagelD #: 10

XII

Defendants’ violations of the Act, as set forth above, were knowing, deliberate, and
intentional. Defendants knowingly paid a number of employees straight time for hours over
forty (40) per week, as shown in their own payroll records, sometimes attempting to hide such
hours by using categories such as “Other” in payroll records for overtime hours worked and paid
at straight time. In addition, Defendants deliberatively altered time cards for hourly employees to
remove a half hour for lunch from employees’ timecards, regardless of whether those employees
took a lunch break.

XUI

Since July 20, 2015, Defendants have willfully and repeatedly violated and are violating
the aforesaid provisions of the Act as alleged.

WHEREFORE, cause having been shown, Plaintiff prays for Judgment against
Defendants as follows:

(1) For an Order pursuant to Section 17 of the Act permanently enjoining and restraining
Defendants, their officers, agents, servants, employees and those persons in active concert or
participation with them, from prospectively violating the Act; and

(2) For an Order pursuant to Section 16(c) of the Act finding Defendants liable for unpaid
back wages found due to Defendants’ employees listed in the attached Exhibit A, plus liquidated
damages equal in amount to the unpaid compensation found due;

Alternatively, in the event liquidated damages are not awarded, Plaintiff prays for an
Order pursuant to Section 17 of the Act enjoining and restraining Defendants, their officers,

agents, servants, employees, and those persons in active concert or participation with them, from

10

 
Case 1:19-cv-00002-MSM-LDA Document1 Filed 01/02/19 Page 11 of 11 PageID #: 11

withholding payment of unpaid back wages found due to Defendants’ employees, and pre-

judgment interest computed at the underpayment rate established by the Secretary of the

Treasury pursuant to 26 U.S.C. § 6621; and

(3) For an Order awarding Plaintiff the costs of this action; and

(4) For an Order granting such other and further relief as may be necessary and

appropriate.

Post Office Address:

JFK Federal Building—Room E-375
Boston, Massachusetts 02203

TEL: (617) 565-2500

FAX: (617) 565-2142

1]

Kate S. O'Scannlain
Solicitor of Labor

Maia S. Fisher
Regional Solicitor

/s/ Susan G. Salzberg
Susan G. Salzberg

Senior Trial Attorney
salzberg.susan@dol.gov
MA BBO No. 556437

U.S. Department of Labor
Attorneys for Petitioner

 
